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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                       Case No. 1:23-cv-00853-DAE

 GREG ABBOTT, in his capacity as
 GOVERNOR OF THE STATE OF TEXAS,
 and THE STATE OF TEXAS,

                        Defendants.


                                       JOINT ADVISORY

       Pursuant to Judge Howell’s October 25, 2024 order, ECF 238, the parties submit this

joint advisory and state as follows:

       Counsel for the United States and Texas had a telephonic conference on Friday,

November 1, 2024 at 10:30AM CT to discuss the following motions: (1) Plaintiff’s Motion for

Reconsideration, ECF 233; and (2) Defendants’ Motion to Preclude, ECF 235. See ECF 238 at

1. The parties discussed whether any stipulated resolution of either motion is possible. The

parties determined that neither motion can be resolved without argument.

       The Motion for Reconsideration is fully briefed. See ECF 233 (motion); ECF 239

(opposition); ECF 246 (reply). Defendants will file on November 1, 2024, their reply to

Plaintiff’s opposition to the Motion to Preclude. ECF 238 at 1; see also ECF 235 (motion); ECF

242 (opposition). Any demonstrative exhibits or presentation materials that either party may use

in the course of argument are included among the attachments to those briefs.

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Dated: November 1, 2024

JAIME ESPARZA                                   TODD KIM
UNITED STATES ATTORNEY                          ASSISTANT ATTORNEY GENERAL
                                                Environment & Natural Resources Division


 /s/ Landon A. Wade                              /s/ Brian H. Lynk
LANDON A. WADE                                  BRIAN H. LYNK
   Assistant United States Attorney                Senior Trial Counsel
   Texas Bar No. 24098560                          NY Bar No. 2868743
United States Attorney’s Office                 BRYAN J. HARRISON
Western District of Texas                          Trial Attorney
903 San Jacinto Blvd., Suite 334                   FL Bar No. 106379
Austin, TX 78701                                KIMERE J. KIMBALL
(512) 370-1255 (tel)                               Trial Attorney
(512) 916-5854 (fax)                               CA Bar No. 260660
Landon.wade@usdoj.gov                           ANDREW D. KNUDSEN
                                                   Trial Attorney
                                                   DC Bar No. 1019697
                                                U.S. Department of Justice
                                                Environmental Defense Section
                                                P.O. Box 7611
                                                Washington, DC 20044
                                                (202) 514-6187 (Lynk)
                                                (202) 514-8865 (fax)
                                                Brian.lynk@usdoj.gov
                                                Kimere.kimball@usdoj.gov
                                                Andrew.knudsen@usdoj.gov
                                                Bryan.harrison@usdoj.gov

                                                Counsel for United States of America




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Ken Paxton                                         /s/ Johnathan Stone
Attorney General of the State of Texas             Johnathan Stone
                                                   Chief
Brent Webster                                      Consumer Protection Division
First Assistant Attorney General                   Office of the Attorney General
                                                   Tex. State Bar No. 24071779
Ralph Molina                                       Johnathan.stone@oag.texas.gov
Deputy Attorney General for Legal Strategy
                                                   David Bryant
Ryan Walters                                       Senior Special Counsel
Chief, Special Litigation Division                 Tex. State Bar No. 03281500
Office of the Attorney General                     david.bryant@oag.texas.gov
P. O. Box 12548, MC-009
Austin, TX 78711-2548                              Munera Al-Fuhaid
(512) 936-2172                                     Special Counsel
                                                   Tex. State Bar No. 24094501
                                                   munera.al-fuhaid@oag.texas.gov

                                                   Kyle S. Tebo
                                                   Special Counsel
                                                   Tex. State Bar No. 24137691
                                                   kyle.tebo@oag.texas.gov

                                                   Zachary Berg
                                                   Special Counsel
                                                   Tex. State Bar. 24107706
                                                   Zachary.Berg@oag.texas.gov

                                                   Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I certify that on November 1, 2024, a copy of this filing was served on counsel of record

through the Court’s electronic filing system.

                                                /s/ Brian H. Lynk.
                                                Brian H. Lynk




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